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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Jacqueline Stevens
                                                     Plaintiff,
v.                                                                Case No.: 1:14−cv−03305
                                                                  Honorable Harry D.
                                                                  Leinenweber
U.S. Department of Homeland Security,
Immigration and Customs Enforcement
                                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 21, 2019:


       MINUTE entry before the Honorable Harry D. Leinenweber: Ruling on motion
hearing held. Motion to reopen case [110] is granted. Case reopened. Status hearing set for
6/11/19 at 9:00 a.m. Mailed notice(maf)




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